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                             UNITED STATES DISTRICT COURT                    'HFHPEHU
                                                                             
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )              No. 3:11-00012-14
                                            )              Judge Sharp
DEMETRIUS DUNCAN                            )

              MOTION FOR EXTENSION OF TIME TO FILE RESPONSE

       Comes now the United States and requests an extension of time to respond to defendant

Demetrius Duncan’s Motion to Change Location of Pretrial Confinement (R. 1287) filed on

November 12, 2012. The undersigned just concluded a four-week trial in Judge Trauger’s

courtroom. In addition, the U.S. Marshals Service is attempting to obtain information regarding

defendant’s confinement and will forward it to the undersigned for review. The United States

requests an extension until sometime during the week of November 26, 2012 in which to reply to

defendant Duncan’s motion.


                                                    Respectfully submitted,

                                                    JERRY E. MARTIN
                                                    United States Attorney

                                                    s/ Sunny A.M. Koshy
                                                    SUNNY A.M. KOSHY
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